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AO 106A _(08'18) Application fora Warrant by Telephone or Other Reliable Electronic Means __
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FILED
RICHARD W. NAGEL
UNITED STATES DISTRICT COURT . a8 BO SN. NAGE

zoe 10/8/20

Southern District of Ohio

U.S. DISTRICT COURT
SOUTHERN DIST. OHIO
WEST. DIV. DAYTON
Case No.

3:20-mj-468

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

INFORMATION ASSOCIATED WITH INSTAGRAM
USER ID “FederalFetty” THAT IS STORED AT
PREMISES CONTROLLED BY INSTAGRAM INC.

APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

la federal law enforcement officer or an attomey for the government, request a search warrant and state under
penalty of perjury that 1 have reason to believe that on the following person or property (identify the person or describe the
Property to be searched and give its location)

SEE ATTACHMENT A

locatedinthe District of , there is now concealed (identify the
person or describe the property ta be seized):

SEE ATTACHMENT B

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more}:
a evidence of a crime;
a contraband, fruits of crime, or other items illegally possessed:
as property designed for use, intended for use, or used in committing a crime;
0 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. § 2119(1) Car jacking
18 U.S.C. § 924(c)(1)(A\(iii) Use of a firearm during and in relation to a crime of violence
18 U.S.C. § 371 Conspiracy

The application is based on these facts:
SEE ATTACHED AFFIDAVIT

a Continued on the attached sheet.

© Delayed notice of days (give exact ending date if more than 30 days ) is requested under
18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

aoa a

__DUSM STEFAN MORGAN, U.S. MARSHALS SERVICE

Printed name and title
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

(specify reliable electronic means).

Date: 1:13 PM, Oct 8, 2020

City and state. DAYTON, OHIO’ Midnuk Nive ae E JUDGE

Michael] ]. Newman
United States Magistrate Judge

Via electronic means.
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH
INSTAGRAM USER ID “FederalFetty”
THAT IS STORED AT PREMISES
CONTROLLED BY INSTAGRAM INC.

Case No.

Filed Under Seal

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Stefan Morgan, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

l. I make this affidavit in support of an application for a search warrant for
information associated with a certain Instagram user ID that is stored at premises owned,
maintained, controlled, or operated by Instagram Inc. (“Instagram”), a social networking company
headquartered in Menlo Park, California. The information sought to be searched is more
specifically described in the following paragraphs and in Attachment A. This affidavit is made in
support of an application for a search warrant pursuant to 18 U.S.C. §§ 2703(a), 2703(b)(1)(A)
and 2703(c)(1)(A) to require Instagram to disclose to the government records and other
information in its possession, pertaining to the subscriber or customer associated with the user ID.

ee I am a Deputy United States Marshal (DUSM) Stefan Morgan with the United
States Marshals Service (USMS), and have been since January 19, 2015. My initial training was
conducted at the Federal Law Enforcement Training Center in August of 2011. Throughout my
career, I have attended annual in service trainings. I have also attended training provided by the
USMS on Fugitive Investigations and apprehension techniques. That training included the use of

social media accounts to investigate and apprehend fugitives from justice.
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2 The facts set forth in this affidavit are based upon my personal observations, my
training and experience, and information obtained from other agents and witnesses. This affidavit
is intended to merely establish that there is sufficient probable cause for the requested warrant. It
is not intended to set forth all of my knowledge about this matter.

4. Based on my training and experience and the facts as set forth in this affidavit, there
is probable cause to believe that relevant evidence concerning the location of a fugitive person to
be arrested namely, A. Phillip Thomas Christian Daugherty (hereinafter referred to as “Daugherty”

will be found on a Instagram account. There is probable cause to search the information described

in Attachment A.
PROBABLE CAUSE
5. On June 17, 2020, a federal arrest warrant was issued by U.S. District Court Judge

Thomas M. Rose for Daugherty for bond violations in the Southern District of Ohio in case no.
3:18CR172. On June 17, 2020, I was assigned said warrant. On September 29, 2020, I determined
Daugherty had been using the name “FederalFetty” on Instagram. After pulling up said account, I
observed Daugherty in numerous real time images appearing with associates located in Dayton,
Ohio. Furthermore, | showed the photo of “FederalFetty” to Supervisory DUSM Charles Sanso,
who confirmed the identity of “FederalFetty” as being Daugherty. Daugherty’s Instagram Photo
was last updated on September 28, 2020. On September 29, 2020, I preserved Daugherty’s
Instagram account. Based on my training and experience, the “FederalFetty” Instagram account
will likely contain information concerning the present location or whereabouts and whereabouts
of Daugherty who remains a federal fugitive.

6. Instagram, a company which owns and operates a free-access social networking
website of the same name that can be accessed at http://www.Instagram.com. Instagram allows

its users to establish accounts with Instagram, and users can then use their accounts to share written
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news, photographs, videos, and other information with other Instagram users, and sometimes with
the general public.

i Instagram asks users to provide basic contact and personal identifying information
to Instagram, either during the registration process or thereafter. This information may include the
user’s full name, birth date, gender, contact e-mail addresses, Instagram passwords, physical
address (including city, state, and zip code), telephone numbers, screen names, websites, and other
personal identifiers. Instagram also assigns a user identification number to each account.

8. Instagram users may join one or more groups or networks to connect and interact
with other users who are members of the same group or network. Instagram assigns a group
identification number to each group, An Instagram user can also connect directly with individual
Instagram users by sending each user a “Friend Request.” If the recipient of a “Friend Request”
accepts the request, then the two users will become “Friends” for purposes of Instagram and can
exchange communications or view information about each other. Each Instagram user’s account
includes a list of that user’s “Friends” and a “News Feed,” which highlights information about the
user’s “Friends,” such as profile changes, upcoming events, and birthdays.

9. Instagram users can select different levels of privacy for the communications and
information associated with their Instagram accounts. By adjusting these privacy settings, an
Instagram user can make information available only to himself or herself, to particular Instagram
users, or to anyone with access to the Internet, including people who are not Instagram users, An
Instagram user can also create “lists” of Instagram friends to facilitate the application of these
privacy settings. Instagram accounts also include other account settings that users can adjust to
control, for example, the types of notifications they receive from Instagram.

10. Instagram users can create profiles that include photographs, lists of personal
interests, and other information. Instagram users can also post “status” updates about their
whereabouts and actions, as well as links to videos, photographs, articles, and other items available

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elsewhere on the Internet. Instagram users can also post information about upcoming “events,”
such as social occasions, by listing the event’s time, location, host, and guest list. In addition,
Instagram users can “check in” to particular locations or add their geographic locations to their
Instagram posts, thereby revealing their geographic locations at particular dates and times. A
particular user’s profile page also includes a “Wall,” which is a space where the user and his or
her “Friends” can post messages, attachments, and links that will typically be visible to anyone
who can view the user’s profile.

11. Instagram allows users to upload photos and videos, which may include any
metadata such as location that the user transmitted when s/he uploaded the photo or video. It also
provides users the ability to “tag” (i.e., label) other Instagram users in a photo or video. When a
user is tagged in a photo or video, he or she receives a notification of the tag and a link to see the
photo or video. For Instagram’s purposes, the photos and videos associated with a user’s account
will include all photos and videos uploaded by that user that have not been deleted, as well as all
photos and videos uploaded by any user that have that user tagged in them.

12, Instagram users can exchange private messages on Instagram with other users.
Those messages are stored by Instagram unless deleted by the user. Instagram users can also post
comments on the Instagram profiles of other users or on their own profiles; such comments are
typically associated with a specific posting or item on the profile. In addition, Instagram has a
chat feature that allows users to send and receive instant messages through Instagram Messenger.
These chat communications are stored in the chat history for the account. Instagram also has Video
and Voice Calling features, and although Instagram does not record the calls themselves, it does
keep records of the date of each call.

13. If an Instagram user does not want to interact with another user on Instagram, the

first user can “block” the second user from seeing his or her account.
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14. _—_ Instagram has a “like” feature that allows users to give positive feedback or connect
to particular pages. Instagram users can “like” Instagram posts or updates, as well as webpages or
content on third-party (i.e., non-Instagram) websites. Instagram users can also become “fans” of
particular Instagram pages.

15. Instagram has a search function that enables its users to search Instagram for
keywords, usernames, or pages, among other things,

16. Each Instagram account has an activity log, which is a list of the user’s posts and
other Instagram activities from the inception of the account to the present. The activity log
includes stories and photos that the user has been tagged in, as well as connections made through
the account, such as “liking” a Instagram page or adding someone as a friend. The activity log is
visible to the user but cannot be viewed by people who visit the user’s Instagram page.

17. Instagram also has a Marketplace feature, which allows users to post free classified
ads. Users can post items for sale, housing, jobs, and other items on the Marketplace.

18. In addition to the applications described above, Instagram also provides its users
with access to thousands of other applications (“apps”) on the Instagram platform. When a
Instagram user accesses or uses one of these applications, an update about that the user’s access or
use of that application may appear on the user’s profile page.

19. Instagram also retains Internet Protocol (“IP”) logs for a given user ID or IP
address. These logs may contain information about the actions taken by the user ID or IP address
on Instagram, including information about the type of action, the date and time of the action, and
the user ID and IP address associated with the action. For example, if a user views a Instagram
profile, that user’s IP log would reflect the fact that the user viewed the profile, and would show
when and from what IP address the user did so,

20. Social networking providers like Instagram typically retain additional information
about their users’ accounts, such as information about the length of service (including start date),

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the types of service utilized, and the means and source of any payments associated with the service
(including any credit card or bank account number). In some cases, Instagram users may
communicate directly with Instagram about issues relating to their accounts, such as technical
problems, billing inquiries, or complaints from other users. Social networking providers like
Instagram typically retain records about such communications, including records of contacts
between the user and the provider’s support services, as well as records of any actions taken by
the provider or user as a result of the communications,

21. As explained herein, information stored in connection with a Instagram account
may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal
conduct under investigation, thus enabling the United States to establish and prove each element
or alternatively, to exclude the innocent from further suspicion. In my training and experience, a
Instagram user’s IP log, stored electronic communications, and other data retained by Instagram,
can indicate who has used or controlled the Instagram account. This “user attribution” evidence
is analogous to the search for “indicia of occupancy” while executing a search warrant at a
residence. For example, profile contact information, private messaging logs, status updates, and
tagged photos (and the data associated with the foregoing, such as date and time) may be evidence
of who used or controlled the Instagram account at a relevant time. Further, Instagram account
activity can show how and when the account was accessed or used. For example, as described
herein, Instagram logs the Internet Protocol (IP) addresses from which users access their accounts
along with the time and date. By determining the physical location associated with the logged IP
addresses, investigators can understand the chronological and geographic context of the account
access and use relating to the crime under investigation. Such information allows investigators to
understand the geographic and chronological context of Instagram access, use, and events relating
to the crime under investigation. Additionally, Instagram builds geo-location into some of its
services. Geo-location allows, for example, users to “tag” their location in posts and Instagram

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“friends” to locate each other. This geographic and timeline information may tend to either
inculpate or exculpate the Instagram account owner. Last, Instagram account activity may provide
relevant insight into the Instagram account owner’s state of mind as it relates to the offense under
investigation. For example, information on the Instagram account may indicate the owner’s
motive and intent to commit a crime (e.g., information indicating a plan to commit a crime), or
consciousness of guilt (e.g., deleting account information in an effort to conceal evidence from
law enforcement).

22. Therefore, the computers of Instagram are likely to contain all the material
described above, including stored electronic communications and information concerning
subscribers and their use of Instagram, such as account access information, transaction
information, and other account information.

INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

23. | anticipate executing this warrant under the Electronic Communications Privacy
Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant to
require Instagram to disclose to the government copies of the records and other information
(including the content of communications) particularly described in Section I of Attachment B.
Upon receipt of the information described in Section I of Attachment B, government-authorized
persons will review that information to locate the items described in Section II of Attachment B.

CONCLUSION

 

24. _ Based on the forgoing, I request that the Court issue the proposed search warrant.
Because the warrant will be served on Instagram, who will then compile the requested records at
a time convenient to it, reasonable cause exists to permit the execution of the requested warrant at

any time in the day or night.
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25. This Court has jurisdiction to issue the requested warrant because it is “a court of
competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(I)(A) &
(c)(1)(A). Specifically, the Court 18 U.S.C. § 2711(3)(A)G).

REQUEST FOR SEALING

26. | further request that the Court order that all papers in support of this application,
including the affidavit and search warrant, be sealed until further order of the Court. These
documents discuss an ongoing criminal investigation that is neither public nor known to all of the
targets of the investigation. Accordingly, there is good cause to seal these documents because

their premature disclosure may seriously jeopardize that investigation.

 

Respectfully submitted,
Stefan Morgan —

Deputy United States Marshal
United States Marshals Service

Subscribed and sworn to before me on , 2020

MICHAEL

UNITED S’ tae N Aad

Michael J. Newman
United States Magistrate Judge

1:14 PM, Oct 8, 2020

Via electronic means.
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ATTACHMENT A
Property to Be Searched

This warrant applies to information associated with the Instagram user ID Federal fetty that
is stored at premises owned, maintained, controlled, or operated by Instagram Inc., a company

headquartered in Menlo Park, California
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ATTACHMENT B

 

Particular Things to be Seized

I. Information to be disclosed by Instagram/Instagram

To the extent that the information described in Attachment A is within the possession,
custody, or control of Instagram Inc. (“Instagram”), regardless of whether such information is
located within or outside of the United States, including any messages, records, files, logs, or
information that have been deleted but are still available to Instagram, or have been preserved
pursuant to a request made under 18 U.S.C. § 2703(f), Instagram is required to disclose the
following information to the government for each user ID listed in Attachment A:

(a) All contact and personal identifying information, including “FederalFetty” : full
name, user identification number, birth date, gender, contact e-mail addresses,
physical address (including city, state, and zip code), telephone numbers, screen
names, websites, and other personal identifiers. ]]

(b) _Alll activity logs for the account and all other documents showing the user’s posts
and other Instagram activities June 17, 2020 to the present;

(c) All photos and videos uploaded by that user ID and all photos and videos uploaded
by any user that have that user tagged in them June 17, 2020 to the present,
including Exchangeable Image File (“EXIF”) data and any other metadata
associated with those photos and videos:

(d) All profile information; News Feed information; status updates; videos,
photographs, articles, and other items; Notes; Wall postings; friend lists, including
the friends’ Instagram user identification numbers; groups and networks of which

the user is a member, including the groups’ Instagram group identification
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numbers; future and past event postings; rejected “Friend” requests; comments,
gifts; pokes; tags; and information about the user’s access and use of Instagram
applications;

(e) All records or other information regarding the devices and internet browsers
associated with, or used in connection with, that user ID, including the hardware
model, operating system version, unique device identifiers, mobile network
information, and user agent string;

(f) All other records and contents of communications and messages made or received
by the user June 17, 2020 to the present, including all Messenger activity, private
messages, chat history, video and voice calling history, and pending “Friend”
requests;

(g) All “check ins” and other location information;

(h) —_ ALL IP logs, including all records of the IP addresses that logged into the account;
(i) All records of the account’s usage of the “Like” feature, including all Instagram
posts and all non-Instagram webpages and content that the user has “liked”;

(j) All information about the Instagram pages that the account is or was a “fan” of,

(k) All past and present lists of friends created by the account,

(I) All records of Instagram searches performed by the account June 17, 2020 to the
present;

(m) All information about the user’s access and use of Instagram/Instagram
Marketplace;

(n) The types of service utilized by the user;
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(o)

(p)

(q)

The length of service (including start date) and the means and source of any
payments associated with the service (including any credit card or bank account
number);

All privacy settings and other account settings, including privacy settings for
individual Instagram posts and activities, and all records showing which Instagram
users have been blocked by the account;

All records pertaining to communications between Instagram and any person
regarding the user or the user’s Instagram account, including contacts with support

services and records of actions taken.

Instagram is hereby ordered to disclose the above information to the government within 14

days of service of this warrant.

Il. Information to be seized by the government

All information described above in Section I that constitutes evidence of the present

location and whereabouts of federal fugitive Daugherty, including, for each user ID identified on

Attachment A, information pertaining to the following matters:

(a)

(b)
(c)

(d)

(e)

Bond Violation for the underlying crimes of: carjacking, conspiracy and use of a
firearm during and in relation to a crime of violence, in violation of 18 U.S.C. §§
2119(1), 924(c)(1)(A)(iii) and 371,

Any information involving the location on whereabouts of Daugherty

Any information indicating or suggesting either that Daugherty knows she has
absconded from federal supervision or is currently a fugitive.

Any information concerning friends or associates who may know Daugherty
whereabouts

Cell phone number for Daugherty
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CERTIFICATE OF AUTHENTICITY OF DOMESTIC RECORDS PURSUANT TO
FEDERAL RULES OF EVIDENCE 902(11) AND 902(13)

lL | , attest, under penalties of perjury by the laws
of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
this certification is true and correct. | am employed by Instagram, and my title is

I am qualified to authenticate the records attached hereto
because I am familiar with how the records were created, managed, stored, and retrieved. I state
that the records attached hereto are true duplicates of the original records in the custody of
Instagram. The attached records consist of [GENERALLY DESCRIBE

RECORDS (pages/CDs/megabytes)]. | further state that:

a, all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with
knowledge of those matters, they were kept in the ordinary course of the regularly conducted

business activity of Instagram, and they were made by Instagram as a regular practice; and

b. such records were generated by Instagram’s electronic process or system that

produces an accurate result, to wit:

L. The records were copied from electronic device(s), storage medium(s), or
file(s) in the custody of Instagram in a manner to ensure that they are true duplicates of the

original records; and

2 The process or system is regularly verified by Instagram/Instagram, and at
all times pertinent to the records certified here the process and system functioned properly and

normally.
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I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of

the Federal Rules of Evidence.

 

Date Signature
